                  Case 2:24-mj-00175-LRL Document 1 Filed 10/30/24 Page 1 of 1 PageID# 1
AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Eastern District
                                                   __________         of North
                                                                District       Carolina
                                                                          of __________

                  United States of America
                             v.                                      )
                                                                     )        Case No.    2:24-MJ-1094-1BO
                                                                     )
                                                                     )
                                                                     )       By USMS-E/NC at 4:13 pm, Oct 08, 2024
                   WILLIAM A. CEPIN, JR.
                                                                     )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      William A. Cepin, Jr.                                                                                ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment              ’ Superseding Indictment           ’ Information       ’ Superseding Information             ’ Complaint
’ Probation Violation Petition               ’ Supervised Release Violation Petition       ✔Violation Notice
                                                                                           ’                           ’ Order of the Court

This offense is briefly described as follows:
  CALLED AND FAILED TO APPEAR BEFORE U.S. DISTRICT JUDGE TERRENCE BOYLE IN ELIZABETH CITY, N.C.
  ON SEPTEMBER 9, 2024:

  Count 1: Operating Vehicle Off Established Designated Routes, in violation of 36 CFR 4.10(a)

                                                                         PETER A. MOORE, JR., CLERK OF COURT



Date:         10/03/2024
                                                                                            Issuing officer’s signature

City and state:       ELIZABETH CITY, NC                                               DONNA RUDD, DEPUTY CLERK
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title


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